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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                   CASE NO.: 1:17-cv-60533-JEM

  RODNEY SCOTT PATTERSON,

         Plaintiffs,

  vs.

  AMERICAN AIRLINES, INC., a Delaware
  Corporation,

         Defendant.
                                                        /


                          JOINT MOTION TO EXTEND DEADLINES

         Plaintiff Rodney Scott Patterson and Defendant American Airlines, Inc. (“American”)

  jointly and respectfully move this Court for an order extending the deadlines set forth in this

  Court’s May 9, 2017 Order (ECF No. 19) (the “May 9 Order”), as detailed below:

         1.      This is an action brought by Plaintiff against American under the Uniformed

  Services Employment and Reemployment Rights Act (“USERRA”), 38 U.S.C. 4301 §§ et seq.

  Pursuant to this Court’s May 9 Order, this case is currently set for trial on April 30, 2018. The

  parties jointly agree that there are compelling circumstances for a reasonable extension of this

  trial date, and that a reasonable extension of accompanying deadlines set forth in the May 9

  Order would advance the just, speedy, and inexpensive final determination of this action. See

  Fed. R. Civ. P. 1.

         2.      In the interests of judicial economy and the interests of the parties, the parties

  recently engaged in an early mediation. The Honorable Joseph P. Farina (Ret.) conducted an in-

  person mediation session on December 8, 2017 in Miami, Florida. On January 2, 2018, he

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  submitted a final mediation report to this Court, stating that the case did not settle. (ECF No.

  22.)

         3.      The parties had agreed to defer certain discovery in light of the early mediation in

  an effort to avoid unnecessary expenditures of time and resources. Deponents in this action are

  located in various locations across the country, requiring potentially-extensive travel to take and

  defend depositions. Now that the mediation process has concluded without a settlement, the

  parties are working diligently to complete discovery; but, additional time will be needed to

  complete this process. The deposition schedule was also delayed this week on the basis of a

  sudden medical issue for Plaintiff. Dispositive motions cannot be fully briefed or filed under the

  current deadlines in light of the outstanding discovery.

         4.      The parties believe that there are compelling circumstances for a reasonable

  amendment to the trial date, and the accompanying pre-trial deadlines, in order to allow the

  parties to fully address important issues that are to be presented in this matter. The parties

  believe that the amended schedule below would serve the interests of this Court, a jury at trial,

  and the parties.

         4.      The parties jointly propose the following amended schedule, which includes an

  amended trial date of June 27, 2018:

                                                             Current Date           Proposed Date
                                                            (May 9 Order)
   Parties exchange expert witness summaries and         October 2, 2017          November 1, 2017
   reports.
   Parties exchange rebuttal expert witness              November 1, 2017         February 1, 2018
   summaries and reports.
   All discovery, including expert discovery, shall      December 21, 2017        February 16, 2018
   be completed.
   Parties shall exchange written lists containing the   October 12, 2017         February 1, 2018
   names and addresses of all witnesses intended to
   be called at trial and only those witnesses listed
   shall be permitted to testify.

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   All Daubert, summary judgment, and other              January 22, 2018        March 19, 2018
   dispositive motions must be filed.
   All Pretrial Motions and Memoranda of Law             March 16, 2018          May 25, 2018
   must be filed.
   Joint Pretrial Stipulation and deposition             April 10 , 2018         June 5, 2018
   designations must be filed.
   Proposed jury instructions and/or proposed            April 23, 2018          June 18, 2018
   findings of fact and conclusions of law must be
   filed.
   Proposed voir dire questions must be filed.           April 25, 2018          June 20, 2018
   Calendar call                                         April 26, 2018          June 21, 2018
   Trial                                                 April 30, 2018          June 27, 2018


         5.      Plaintiff previously filed a December 4, 2017 Unopposed Motion to Extend Pre-

  Trial Deadlines (ECF No. 21), which has remained before the Court. The parties have now

  agreed, in light of subsequent developments since that motion was filed, to jointly request that

  this Court adopt the amended deadlines in the present motion, as such deadlines would advance

  the just, speedy, and inexpensive final determination of this action. See Fed. R. Civ. P. 1.




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         6.      Pursuant to Local Rule 7.1(a)(3), the parties have conferred and agreed to jointly

  submit this motion.

  Dated: January 12, 2018                                  Respectfully submitted,



  /s/__Isha Kochar_____________                        /s/_Michael A. Holt_________
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 12th day of January, 2018, a true and correct

  copy of the foregoing was served on all counsel or parties of record on the attached Service

  List by the method indicated.

                                                               By: Michael A. Holt.
                                                                   MICHAEL A. HOLT


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